                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         EASTERN DIVISION
                                       Case No. 4:20-cv-00030-M

      CHARLES R. GIBBS,                                  )
                                                         )
                                         Plaintiff,      )
                                                         )
      V.                                                 )                     ORDER
                                                         )
      ANDREW SAUL, COMMISSIONER OF                       )
      SOCIAL SECURITY,                                   )
                                                         )
                                         Defendant.      )

           This matter comes before the court on Defendant' s motion seeking an order remanding this case for

additional administrative proceedings pursuant to 42 U.S .C. § 405(g), which Defendant filed on November

13, 2020. [DE-21] Within his motion, Defendant notes that Plaintiff consents to remanding the case. [DE-

21]

           Because the parties agree that additional administrative proceedings are appropriate, and for good

cause shown, Defendant's motion is GRANTED. All other motions pending to the docket are DISMISSED

AS MOOT and the case is hereby remanded for additional administrative proceedings.



           SO ORDERED this the         ll-rt          dayof   J~~                            , 2021.
                                                                       Cl



                                                             ~+./f (td1_M/s IL
                                                              CHIEF UNITED STATES DISTRICT JUDGE



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